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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 AMERICA FIRST LEGAL
 FOUNDATION,

      Plaintiff,                                        No. 23-cv-0419 (CJN)

 v.

 UNITED STATES DEPARTMENT OF
 STATE,

      Defendant.


                                      JOINT STATUS REPORT

        Pursuant to the Court’s order dated May 2, 2023, the Plaintiff, American First Legal

Foundation, (‘AFL") and the Defendant, U.S. Department of State (“DOS”), by and through the

undersigned counsel, report to the Court as follows.

        1.         This action involves five Freedom of Information Act (“FOIA”) requests that are

attached as exhibits to the Complaint and that have been assigned the following numbers by

DOS: F-2021-08873, F-2022-00890, F-2022-06035, F-2022-06040, and F-2022-08578. DOS

answered the Complaint on March 24, 2023.

        2.         DOS states that it made its first production on May 31, 2023, at the 400 page

processing rate directed by the Court, and plans to make a further production at that processing

rate by the end of June 2023.

        3.         In the last status report, DOS provided preliminary estimates of potentially

responsive pages with respect to three of the five requests. In the course of uploading records on

its processing system, it appears that the potentially responsive page estimate for those requests

may be higher than previously reported, and for some potentially significantly higher. Likewise,
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the estimated page count for one of the remaining two requests also might be voluminous.

DOS is still evaluating those page estimates to confirm their accuracy and will update Plaintiff’s

counsel once it has done so. 1 In that regard, DOS has represented to AFL’s counsel that a current

estimate of the page count for all requests should be available within the next three weeks.

       4.       Of particular note, DOS has identified substantial volumes of potentially

responsive records with respect to request F-2022-00890 (including subpart B) and F-2022-

008578.

       Request F-2022-00890 seeks:

                “All records concerning, mentioning, or regarding (1) the Government of Israel’s

                designation of certain groups as terrorist organizations on or about October 22,

                2021…(2) the Union of Palestinian Women’s Committees, (3) Addameer –

                Prisoner Support and Human Rights Association, (4) Bisan Center for Research

                and Development, (5) Al-Haq organization, (6) Defense for Children International

                – Palestine, (7) the Union of Agricultural Work Committees), and/or (8) Benny

                Gantz. The relevant time frame for this item is October 15, 2021, until the date it

                is processed.”

       Sub-part B of request F-2022-00890 seeks:

                “All records concerning, mentioning, or regarding an American consulate in

                Jerusalem. The relevant time frame for this Item is October 1, 2021, until the date

                it is processed.”




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        Another issue DOS is evaluating is whether the page count estimates are being inflated
by the difficulty of de-duping emails sent to and from the United States to overseas locations
given the differences in, among other things, time stamps on the sending and receiving end.
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       Request F-2022-08578 seeks the following records across 19 named custodians and 13

       named offices within the Department (e.g. Office of White House Liaison, Office of the

       Counselor, etc.) for all Schedule A, C, or Senior Executive Service employees within

       those offices:

                “(A) All records referring to Amendments to the International Health Regulations

                (IHR) or Provisional agenda item 16.2 at the seventy-fifth World Health

                Assembly (WHA). (B) All records referring to the Working Group on

                Preparedness & Response (WGPR). (C) All records referring to governance

                improvements at the World Health Organization (WHO), including a Task Team

                of Member States. (D) All records referring to the intergovernmental negotiating

                body (INB) to draft and negotiate a WHO convention, agreement or other

                international instrument on pandemic prevention, preparedness and response.”

       5.       DOS previously proposed certain narrowing concerning F-2022-0890, which

Plaintiff agreed to as to some of the custodians identified in the request. By email dated June 5,

2023, DOS requested, through counsel, that AFL agree to similar narrowing as to the other

custodians. AFL prefers to wait until DOS can provide estimated page counts to discuss further

narrowing of this request.

       6.       In that same email, and with respect to F-2022-0890 (including subpart B) and F-

2022-08578, DOS also proposed that AFL identify specific areas of interest as a means to narrow

the scope of those requests. AFL has provided these areas of interest to DOS as to certain aspects

of the requests.

       7.       AFL and DOS have agreed on additional narrowing measures applicable to all

requests.



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       8.       On June 6, 2023, AFL emailed DOS, through counsel, asking for estimated page

counts of responsive records. As noted above, DOS has represented that it will provide such

estimates to Plaintiff’s counsel within the next three weeks, after which the parties plan to

continue their conferral on potential narrowing. 2

       9.       Pursuant to the Court’s order dated May 2, 2023, the parties will file a

further status report in 60 days.



                                       Respectfully submitted,

                                       By: ____/s/ Jacob Meckler_________________________
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       DOS states that it reserves the right to challenge whether these requests reasonably
describe the records sought in the event the parties are not able to reach an agreement on
narrowing.
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